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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------X
  KIM M. BROWN,
                                                                                JUDGMENT
                           Plaintiff,
         v.
                                                                                21-CV-0854 (PKC) (MMH)
 CITY UNIVERSITY OF NEW YORK,

                            Defendants.
 ---------------------------------------------------------------X
          A Memorandum and Order of the Honorable Pamela K. Chen, United States District

 Judge, having been filed on February 27, 2025, granting Defendant’s motion for summary

 judgment in its entirety; and dismissing Plaintiff’s remaining claims; it is

         ORDERED and ADJUDGED that Defendant’s motion for summary judgment is granted

 in its entirety, and Plaintiff’s remaining claims are dismissed.

 Dated: Brooklyn, New York                                                Brenna B. Mahoney
        February 28, 2025                                                 Clerk of Court

                                                                By:       /s/Jalitza Poveda
                                                                          Deputy Clerk
